Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page11of
                                                                of29
                                                                   29 Page
                                                                      PageID
                                                                           ID
                                  #:10551
                                  #:14618




                   EXHIBIT 237
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page22of
                                                                of29
                                                                   29 Page
                                                                      PageID
                                                                           ID
                                  #:10552
                                  #:14619
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page33of
                                                                of29
                                                                   29 Page
                                                                      PageID
                                                                           ID
                                  #:10553
                                  #:14620
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page44of
                                                                of29
                                                                   29 Page
                                                                      PageID
                                                                           ID
                                  #:10554
                                  #:14621
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page55of
                                                                of29
                                                                   29 Page
                                                                      PageID
                                                                           ID
                                  #:10555
                                  #:14622
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page66of
                                                                of29
                                                                   29 Page
                                                                      PageID
                                                                           ID
                                  #:10556
                                  #:14623
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page77of
                                                                of29
                                                                   29 Page
                                                                      PageID
                                                                           ID
                                  #:10557
                                  #:14624
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page88of
                                                                of29
                                                                   29 Page
                                                                      PageID
                                                                           ID
                                  #:10558
                                  #:14625
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page99of
                                                                of29
                                                                   29 Page
                                                                      PageID
                                                                           ID
                                  #:10559
                                  #:14626
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page10
                                                               10of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10560
                                   #:14627
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page11
                                                               11of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10561
                                   #:14628
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page12
                                                               12of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10562
                                   #:14629
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page13
                                                               13of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10563
                                   #:14630
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page14
                                                               14of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10564
                                   #:14631
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page15
                                                               15of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10565
                                   #:14632
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page16
                                                               16of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10566
                                   #:14633
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page17
                                                               17of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10567
                                   #:14634
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page18
                                                               18of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10568
                                   #:14635
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page19
                                                               19of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10569
                                   #:14636
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page20
                                                               20of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10570
                                   #:14637
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page21
                                                               21of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10571
                                   #:14638
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page22
                                                               22of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10572
                                   #:14639
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page23
                                                               23of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10573
                                   #:14640
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page24
                                                               24of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10574
                                   #:14641
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page25
                                                               25of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10575
                                   #:14642
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page26
                                                               26of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10576
                                   #:14643
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page27
                                                               27of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10577
                                   #:14644
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page28
                                                               28of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10578
                                   #:14645
Case
Case2:22-cv-04355-JFW-JEM
     2:22-cv-04355-JFW-JEM Document
                           Document163-133
                                    190-62 Filed
                                           Filed04/03/23
                                                 03/27/23 Page
                                                          Page29
                                                               29of
                                                                 of29
                                                                    29 Page
                                                                       PageID
                                                                            ID
                                   #:10579
                                   #:14646
